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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


  NANCY GIMENA HUISHA-
  HUISHA, on behalf of herself and
  others similarly situated, et al.,

    Plaintiffs,


       v.
                                               Civ. A. No. 21-100 (EGS)

  ALEJANDRO MAYORKAS, Secretary
  of Homeland Security, et al.,

     Defendants.


      STATE OF MONTANA’S UNOPPOSED MOTION FOR JOINDER


      Pursuant to Federal Rule of Civil Procedure 20, the State of Montana hereby

moves to be joined as a party to the Motion for Intervene, Dkt. 168, filed by the States

of Arizona, Louisiana, Alabama, Alaska, Kansas, Kentucky, Mississippi, Nebraska,

Ohio, Oklahoma, South Carolina, Texas, Virginia, and West Virginia, and Wyoming

because the State of Montana also wishes to intervene in this matter.


      Plaintiffs, Defendants, and Proposed Intervenors do not oppose this motion.


      In support of this Motion, the State of Montana submits the accompanying

Memorandum of Law and [Proposed] Order.




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                                 MEMORANDUM

      Pursuant to Federal Rule of Civil Procedure 20, the State of Montana

respectfully request that this Court join Montana to the Motion to Intervene in this

matter filed by the States of Arizona, Louisiana, Alabama, Alaska, Kansas, Kentucky,

Mississippi, Nebraska, Ohio, Oklahoma, South Carolina, Texas, Virginia, and West

Virginia, and Wyoming (hereinafter “Intervenor States”). See Dkt. 168. Montana is

a co-plaintiff with many of the Intervenor States in litigation where the States

successfully obtained injunctive relief against Defendants’ attempts to rescind their

Title 42 Orders. See Louisiana v. Centers for Disease Control & Prevention, 2022 WL

1604901, at *23 (W.D. La. May 20, 2022). Invalidation of the Title 42 Orders will

directly harm Montana in the same way it harms the Intervenor States. For that

reason, the Court should grant Montana’s Motion for Joinder and permit it to be a

part of the Intervenor States’ Motion to Intervene.

      Rule 20 sets forth guidelines for permissive joinder, providing that parties may

join an action if (1) their claims “aris[e] out of the same transaction, occurrence, or

series of transactions or occurrences” and (2) “any question of law or fact common to

all plaintiffs will arise in the action.” Fed. R. Civ. P. 20. Permissive Joinder is

“ordinarily allowed … so long as both prongs of the test under Rule 20 are met.”

Council on Am.-Islamic Rels. Action Network, Inc. v. Gaubatz, 793 F. Supp. 2d 311,

323 (D.D.C. 2011).   “Attempts to join a party who satisfies the test for permissive

joinder should generally not be denied in the absence of undue prejudice, expense, or

delay.” Id.



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      The State of Montana easily meets both requirements for Rule 20 permissive

joinder. Montana’s claims and interests in this matter are identical to those of the

Intervenor States. The Intervenor States seek to intervene to offer a defense of Title

42 policy so that its validity can be resolved on the merits.   Dkt. 168 at 12. As laid

out in the Motion to Intervene, the Intervenor States obtained injunctive relief

against recission of and exceptions to Title 42. See Dkt. 168 at 4–6. Montana is a co-

plaintiff with many of the Intervenor States in Louisiana v. Centers for Disease

Control & Prevention, 2022 WL 1604901 (W.D. La. 2022). Montana’s interests in this

litigation are thus identical to those identified in the Intervenor States’ Motion to

Intervene. See Dkt. 168 at 10–16.      Montana’s claims arise out of the exact same

transaction, occurrence, or series of transactions or occurrences as the Motion to

Intervene filed on November 21, 2022, and involve identical questions of law and fact.

Joinder will also not cause any undue prejudice, expense, or delay because Montana

will simply join the briefing of the Intervenor States at set forth by this Court’s

November 22, 2022, order.

      For these reasons, the Court should grant Montana’s motion for joinder.



Respectfully submitted,

DATED: November 25, 2022

AUSTIN KNUDSEN
Attorney General of Montana

CHRISTIAN B. CORRIGAN
Solicitor General



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/s/ Kathleen L. Smithgall
KATHLEEN L. SMITHGALL
Deputy Solicitor General
Montana Attorney General’s Office
215 N. Sanders St.
Helena, MT 69601
Telephone: 406-444-2026
Kathleen.Smithgall@mt.gov

Attorneys for the State of Montana




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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 NANCY GIMENA HUISHA-
 HUISHA, on behalf of herself and
 others similarly situated, et al.,

    Plaintiffs,


                                          Hon. Emmet G. Sullivan
       v.
                                          Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary
 of Homeland Security, et al.,

     Defendants.


                                      ORDER


      The Matter came before the Court on ______________, 2022 on the unopposed

motion of the State of Montana for joinder to the Motion to Intervene under Federal

Rule of Procedure 20. The Court being fully advised in the premises, IT IS HEREBY

ORDERED that the State of Montana’s Motion for Joinder is GRANTED.

   IT IS SO ORDERED.




                                            ENTERED:
                                            By the Court:

Date:________________                        ___________________________________
                                                            Hon. Emmet G. Sullivan
                                                          United States District Judge
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                             CERTIFICATE OF SERVICE


      I hereby certify that on this 25th day of November, 2022, I caused the

foregoing document to be electronically transmitted to the Clerk’s Office using the

CM/ECF System for Filing, which will send notice of such filing to all registered

CM/ECF users.


                                       /s/ Kathleen L. Smithgall
                                        Attorney for the State of Montana
